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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON


                                                )
  UNITED STATES OF AMERICA,                     )
                                                )              Criminal No. 11-16-GFVT
          Plaintiff,                            )
                                                )
  V.                                            )                        ORDER
                                                )
  SAMUEL KEITH MILLER,                          )
                                                )
         Defendant.                             )
                                                )
                                                )
                                       *** *** *** ***

       This matter is before the Court upon the reported violations of supervised release

conditions by Defendant Samuel Keith Miller. This issue was referred to Magistrate Judge

Hanly A. Ingram [R. 264], who conducted a final supervised release revocation hearing pursuant

to Federal Rule of Criminal Procedure 32.1(b). [R. 270]. Following this hearing, Judge Ingram

prepared a Recommended Disposition, in which he recommended revocation and imprisonment

for a term of nine months based on the violations found, with no term of supervised release to

follow. [R. 271].

       Samuel Keith Miller was initially sentenced by this Court to 12 months imprisonment

and a three-year term of supervised release after he pled guilty to aiding and abetting his co-

defendants to willfully and knowingly steal and purloin various property belonging to the United

States Department of Agriculture, the total value of which exceeded $1,000. [R. 100]. Miller

began his first term of supervised release on January 19, 2012. However, upon the United States




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Probation Office’s first Supervised Release Violation Report, [R. 165], that supervised release

was revoked on November 21, 2013 [R. 191], when Miller was sentenced to six months

imprisonment and a 24 month term of supervised release. He was released from custody on that

sentence on April 7, 2014. After the USPO issued a second Supervised Release Violation

Report, [R. 232], however, Miller’s supervised release was revoked for a second time on

September 5, 2014, and he was sentenced to six months’ incarceration and the reimposition of

his supervised release for a term of three months, to be served at a halfway house. [R. 257].

Miller began the instant term of supervised release on January 5, 2015.

       On January 22, 2015, the USPO issued a third Supervised Release Violation Report,

charging Miller with the above-described violations. [See R. 258]. Specifically, the report

charged that, as of the date of the report, Miller had not contacted his supervising officer as

required upon release from custody; that Miller had committed a crime, namely alcohol

intoxication and theft by unlawful taking under $500, and pled guilty to those charges in Knox

County District Court; and that Miller had failed to report that arrest to his supervising officer.

[See R. 271]. On January 28, 2015, Magistrate Judge Ingram conducted an initial appearance, at

which he found probable cause to believe the violations set forth in the Report by the United

States Probation Office and remanded Miller to custody pending his final hearing. [R. 265].

Judge Ingram conducted the final hearing on February 3, 2015, at which Miller competently

stipulated to the charged violations. [R. 270]. On February 5, 2015, Judge Ingram issued a

Recommended Disposition which recommended that Miller’s term of supervised release be

revoked and that he be imprisoned for a term of nine months with no term of supervised release

to follow. [R. 271 at 5].




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       Judge Ingram appropriately considered the 18 U.S.C. § 3553 factors in reaching his

recommended sentence. He found that the need to deter criminal conduct and protect the public

from Miller’s repeated criminal actions weighed in favor of a nine-month term of incarceration.

Judge Ingram also found that, in light of Miller’s repeated supervised release violations, the

reimposition of supervision was not warranted.

       Generally, this Court must make a de novo determination of those portions of the

Recommended Disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c). When no

objections are made, as in this case, this Court is not required to “review . . . a magistrate’s

factual or legal conclusions, under a de novo or any other standard.” See Thomas v. Arn, 474

U.S. 140, 151 (1985). Parties who fail to object to a magistrate judge’s report and

recommendation are also barred from appealing a district court’s order adopting that report and

recommendation. United States v. Walters, 638 F.2d 947 (6th Cir. 1981). As the period for

Miller to file his objections to the Recommended Disposition has passed and no objection has

been raised, Miller has effectively waived any rights he might have had to de novo review by this

Court or an appeal in the Court of Appeals. Further, Miller recently filed a waiver of allocution

[R. 282], expressly waiving any right he might have had to a hearing prior to a final judgment by

this Court. This Court has nonetheless examined the record and agrees with Magistrate Judge

Ingram’s Recommended Disposition.

       Accordingly, it is ORDERED as follows:

       1. The final hearing and allocution hearing scheduled for May 21, 2015 is

           CANCELLED in light of the Defendant’s recently filed Waiver of Allocution. [R.

           282].




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     2. Defendant Samuel Keith Miller is found to have violated the terms of his Supervised

        Release as set forth in the Report filed by the U.S. Probation Officer and the

        Recommended Disposition of the Magistrate Judge;

     3. Miller’s Supervised Release is REVOKED;

     4. Miller is SENTENCED to the Custody of the Bureau of Prisons for a term of nine (9)

        months, with no term of supervision to follow, under those additional conditions

        recommended by the Magistrate Judge, including the recommendation that the BOP

        evaluate Miller regarding potential placement in a Residential Re-Entry Center; and

     5. Judgment shall be entered promptly.


     This the 3rd day of April, 2015.




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